Exhibit A
 1                                                            THE HONORABLE THOMAS S. ZILLY

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 8                                        UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF WASHINGTON
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10     KEVIN PINE, individually and on behalf          Case No. 17-cv-1826
       of all others similarly situated,
11
                            Plaintiff,                 PLAINTIFF’S REPLY IN SUPPORT OF
12                                                     MOTION TO COMPEL DEFENDANT TO
               v.                                      PRODUCE RELEVANT DISCOVERY
13
       A PLACE FOR MOM, INC., a Delaware
14     corporation,                                    Noting Date: August 3, 2018

15                          Defendant.

16

17     I.    INTRODUCTION

18           This discovery dispute involves targeted discovery requests seeking data that Defendant A

19   Place for Mom, Inc. (“APFM”) maintains in a company database showing the telemarketing calls

20   it placed in violation of the Telephone Consumer Protection Act (“TCPA”). Because such

21   discovery, i.e., a Call List and Call Data, is relevant and discoverable in a TCPA class action, courts

22   have consistently and uniformly ordered production of precisely the information Plaintiff seeks

23   here. See, e,g., Dkt. 90 at 7 (citing numerous cases ordering production of call data in TCPA class

24   actions). APFM does not address or distinguish the cases mandating production. For that reason

25   alone, the motion to compel should be granted.

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      Plaintiff’s Reply in Support of Motion to           LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
28    Compel Defendant to Produce Relevant                                2101 Fourth Avenue, Suite 1900
      Discovery                                                                       Seattle, WA 98121
      Case No. 17-cv-1826                                                            Tel: (206) 739-9059
 1
             APFM’s primary excuse for refusing to produce relevant class discovery that is “standard
 2
     practice” in actions under the TCPA is that the parties supposedly made an agreement that would
 3
     relieve APFM from its discovery obligations. No such “agreement” exists. Rather, Plaintiff offered
 4
     to accept either the Call List and Call Data, or an accurate summary of them. When APFM refused
 5
     to provide either, Plaintiff moved to compel. APFM’s assertion that Plaintiff agreed to forgo key
 6
     discovery makes no sense. Why would Plaintiff strike any agreement that would relieve APFM
 7
     from producing discovery relevant to class certification issues?
 8
             Other than conjuring up a fictional agreement, APFM provides no reasonable basis to
 9
     excuse itself from its discovery obligations in this matter. The minimal case law APFM cites
10
     purportedly in support of its position is easily distinguishable and cuts against the overwhelming
11
     weight of authority on this issue. Nor is APFM’s burden argument well-taken. APFM admits it
12
     has already queried the relevant Call List and Call Data and can therefore easily produce it. For
13
     these reasons, discussed more fully below, Plaintiff’s Motion to Compel (Dkt. 90) should be
14
     granted.
15
      II.    ADDITIONAL BACKGROUND
16
             APFM attempts to distract the Court from this straightforward discovery issue by making
17
     inaccurate statements regarding Plaintiff Pine and proposed class members’ claims. See Dkt. 91 at
18
     2-3. Therefore, Mr. Pine provides this additional background for the Court’s benefit.
19
             Contrary to APFM’s misrepresentations that Mr. Pine “appreciated” APFM’s unsolicited
20
     telemarketing robocalls, Mr. Pine testified to the opposite in his deposition. Plaintiff provided his
21
     phone number to APFM only because APFM promised he could view online senior living quotes
22
     – quotes APFM never actually provided. See Ex.1 at 180-81. Mr. Pine never expected APFM to
23
     call him. Id. at 178. He has “been on the Do Not Call list for a long time.” Id. at 53. APFM’s
24
     harassing sales calls upset Mr. Pine because they came at a time when he was in an emotional state
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      Plaintiff’s Reply in Support of Motion to          LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
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      Discovery                                                                      Seattle, WA 98121
      Case No. 17-cv-1826                                                           Tel: (206) 739-9059
 1
     due to the concurrent deaths of his mother and stepmother. Id. at 53-54, 179. Mr. Pine felt APFM
 2
     was trying to take advantage of his emotional state. Id. at 44.1
 3
                Plaintiff’s experience with APFM is consistent with the many other consumers across the
 4
     country who have lodged complaints about APFM’s abusive and deceptive telemarketing practices.
 5
     Such complaints ultimately caused the State of Washington to enact legislation clamping down on
 6
     senior care referral services like those offered by APFM—legislation APFM vigorously opposed.
 7
     See Dkt. 90 at 4. Plaintiff’s experience with APFM is also consistent with the sworn testimony of
 8
     Tequoia Urbina – a whistleblower who provided call center support for APFM. See Dkt. 90-2. Ms.
 9
     Urbina confirms that consumers often “complained they did not request to be called” and also
10
     complained “about APFM’s excessive calling practices.” Id. at ¶¶ 6, 15. Ms. Urbina testified
11
     APFM’s autodialer is programmed to call each consumer fifteen (15) times.
12

13

14

15
                Accordingly, Plaintiff seeks to represent all other aggrieved consumers who, like him,
16
     provided their cell phone number to a website owned and operated by APFM and then received
17
     incessant telemarketing calls from APFM.
18
     III.       ARGUMENT
19
                     A. The Case Law Overwhelmingly Holds That Plaintiff is Entitled to This
20                      Routine Discovery.
21              APFM simply fails to address the overwhelming weight of authority in this District and
22   across the country that supports Plaintiff’s position. See, e.g., Gilman et al. v. ER Solutions, No.
23   C11-0806-JCC, Order, Dkt. 67, at p. 4 (W.D. Wash. Feb. 3, 2012) (attached as Exhibit 1 to Dkt.
24
     1
       While APFM harps—without providing any context—on an email reply Plaintiff sent in response to an
25   APFM email (not a call), Plaintiff made clear in his deposition that his email meant “thank you, I’ll be in
     touch, leave me alone,” and was his polite way of telling APFM to stop contacting him. Id. at 178-79. After
26
     that communication was sent, Mr. Pine continued to receive unwanted calls and emails from APFM—which
27   he ignored. Id.
         Plaintiff’s Reply in Support of Motion to          LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
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         Discovery                                                                      Seattle, WA 98121
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     90) (granting call data discovery in TCPA class action); Ossola v. Am. Express Co., No. 12-cv-
 2
     4836, 2015 WL 5158712, at *7 (N.D. Ill. Sept. 3, 2015) (“Call data is relevant, and thus produced
 3
     as standard practice . . . in cases where the defendant is the alleged dialer.”); O'Shea v. Am. Solar
 4
     Sol., Inc., No. 14CV894-L (RBB), 2016 WL 701215, at *2 (S.D. Cal. Feb. 18, 2016) (granting
 5
     plaintiff’s request for outbound dial list because the “information is relevant to both class
 6
     certification and to the merits of the case”); Cahill v. GC Servs. Ltd. P'ship, No.
 7
     317CV01308GPCMDD, 2018 WL 1791910, at *4 (S.D. Cal. Apr. 16, 2018) (compelling
 8
     production of call list); Gossett v. CMRE Fin. Servs., Case No. 15cv803 MMA (NLS), 2015 WL
 9
     6736883, at *3 (S.D. Cal. Oct. 30, 2015) (granting a motion to compel responses to requests for
10
     production of outbound call lists, as such lists were “relevant to the class claims and meritorious
11
     claims and defenses in this case”).2 Plaintiff’s motion should be granted for this reason alone.
12
                The scant case law APFM musters in support of its assertion that production of the Call List
13
     and Call Data is not “standard practice” in TCPA litigation is easily distinguishable. For example,
14
     APFM cites the court’s order in Ronquillo-Griffin v. Transunion Rental Screening Sols., No. 17-
15
     2
       See also Martin v. Bureau of Collection Recovery, No. 10 C 7725, 2011 U.S. Dist. LEXIS 157579 at *8-
16
     *12 (N.D. Ill. June 13, 2011) (granting plaintiffs’ requests for a call list); Donnelly v. NCO Fin. Sys., Inc.,
17   263 F.R.D. 500, 503-504 (N.D. Ill. 2009) (granting plaintiffs’ request for defendant’s call logs); Whiteamire
     Clinic, P.A. v. Quill Corp., 12-cv-5490, 2013 WL 5348377, at *2 (N.D. Ill. 2013) (granting plaintiff’s request
18   for call list; “the information plaintiff seeks…is clearly relevant to class discovery; specifically to the issues
     of numerosity, commonality, and typicality”); Stemple v. QC Holdings, Inc., 2013 U.S. Dist. LEXIS 99582
19   at *6 (S.D. Cal. June 17, 2013) (“A request for an outbound dial list in a TCPA action is relevant to class
     certification issues, such as ‘the number and ascertainability of potential class members.’”) (citation
20   omitted); Gaines v. Law Office of Patenaude & Felix, A.P.C., 2014 U.S. Dist. LEXIS 110162 at *5 (S.D.
     Cal. June 12, 2014) (in a TCPA case, “the outbound dial list is relevant to the issues of numerosity and
21   commonality under Federal Rule of Civil Procedure 23(a), and is therefore discoverable.”); City Select Auto
     Sales Inc. v. BMW Bank of North America, Inc., 867 F.3d 434, 440-41 (3d Cir. 2017) (class-wide call data
22   relevant to ascertainability); Legg v. American Eagle Outfitters, Inc., 14-cv-61058, Order, Dkt. 69 (S.D. Fla.
     Nov. 21, 2014) (ordering production of text message call data in TCPA case because it is “relevant discovery
23   on whether a class is ascertainable and to class factors such as numerosity, typicality and commonality.”);
     Doherty v. Comenity Capital Bank & Comenity Bank, No. 16-cv-1321, 2017 WL 1885677, at *4 (S.D. Cal.
24   2017) (same); Haghayeghi v. Guess?, Inc., 168 F. Supp. 3d 1277, 1280 (S.D. Cal. 2016) (“Here, the
     information can be used toward discovery of whether the putative class suffered the same alleged injury of
25   receiving unauthorized text messages from Defendant, and thus would bear on issues of commonality and
     typicality.”); Thrasher v CMRE Fin. Servs., Inc., 2015 U.S. Dist. LEXIS 34965 (S.D. Cal. March 13, 2015)
26
     (ordering production of outbound call lists and information pertaining to the defense’s affirmative defense
27   of prior consent).
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     cv-129, 2018 WL 325051, at *3 (S.D. Cal. Jan. 8, 2018), wherein the court denied the production
 2
     of various audio recordings. See Dkt. 91 at 8. But that case did not even involve the TCPA. Rather,
 3
     it was a class action alleging the defendant “violated the California Invasion of Privacy Act,” which
 4
     has nothing to do with this case. Id. at *1. Moreover, the discovery at issue – call recordings –
 5
     similarly has nothing to do with the substance of Plaintiff’s motion to compel. In fact, the court
 6
     even acknowledged that unlike cases under the CIPA, “outbound dial lists generally are relevant to
 7
     numerosity and commonality, and therefore discoverable in TCPA cases.” Id. at * 5 (emphasis
 8
     added). Accordingly, the court’s order in Ronquillo supports Plaintiff’s Motion to Compel.
 9
             APFM’s other cited authority is similarly distinguishable. In Gusman v. Comcast Corp.,
10
     298 F.R.D. 592, 599 (S.D. Cal. 2014), the court held it was inappropriate to require the defendant
11
     to produce an outbound dial list only because the consumer had failed to clearly define the class
12
     definition and was seeking information relating to marketing calls when it was clear the plaintiff
13
     had received debt collection calls. No such circumstances are present here. In Knutson v. Schwan's
14
     Home Serv., Inc., No. 3:12-CV-0964-GPC-DHB, 2013 WL 3746118, at *8 (S.D. Cal. July 15,
15
     2013), the court held the defendant did not need to produce a second outbound dial list because the
16
     defendant already stipulated to certain class certification requirements and because “a more relevant
17
     call list” had already been produced. Here, APFM has not produced any call list nor has it agreed
18
     to stipulate that certain class certification requirements have been satisfied. Accordingly, none of
19
     the three cases APFM cites actually support its position with respect to production of the Call List
20
     and Call Data.
21
             Simply put, production of the Call List and Call Data is “standard practice” in TCPA
22
     litigation because it is relevant to class certification issues. APFM’s argument on this point should
23
     therefore be rejected.
24
                  B. Plaintiff’s Motion is Timely.
25
             APFM contends that Plaintiff’s Motion is premature because it did not have an opportunity
26
     to respond to Plaintiff’s request for the Call Data and Call List. Dkt. 91 at 6. Not so. On July 12,
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     2018, Plaintiff’s counsel wrote to APFM’s counsel “reiterat[ing] his request for production of the
 2
     Call List and Call Data discovery.” See Dkt. 90-2. Because the fact discovery cut-off for class
 3
     certification is August 6, 2018, Plaintiff requested that APFM confirm it would produce the
 4
     requested discovery—which was first requested in February—no later than July 13, 2018. Id.
 5
     Plaintiff expressly stated “the parties [would] be at an impasse and Plaintiff will seek court
 6
     intervention” if APFM failed to respond by the specified deadline. Id. APFM refused to confirm
 7
     it would provide the Call List and Call Data so Plaintiff was forced to seek court intervention. Id.
 8
     To date, APFM still refuses to produce the requested discovery, which, as discussed above, is
 9
     highly relevant to class certification issues. Accordingly, the parties are at an impasse and
10
     Plaintiff’s motion is ripe for this Court’s consideration.
11
                  C. Plaintiff Never Excused APFM From Its Discovery Obligations.
12
             As an alternative ground for refusing to produce routine TCPA class discovery, APFM
13
     claims that the parties struck a bargain excusing APFM from producing the requested Call List and
14
     Call Data. APFM supports its claim by referring to a June 1 letter from Plaintiff’s counsel. Dkt.
15
     91 at 5, 7. APFM, however, ignores the fact that it refused to meet the very limited conditions
16
     under which Plaintiff agreed to accept APFM’s written representations with respect to the Call List
17
     and Call Data in lieu of providing it.
18
             In its June 1 letter to Defendant’s counsel, Plaintiff’s counsel stated that in order for Plaintiff
19
     to accept APFM’s written representations, “APFM must confirm that the answer is accurate and
20
     responsive to Plaintiff’s discovery requests. In other words, if APFM cannot confirm the total
21
     number of persons who received a cell phone call after visiting APFM’s “locate” websites and
22
     the number of calls such persons received, Plaintiff requires the call data so that his expert can
23
     determine that number.” Dkt. 92-1 (emphasis added). APFM refused to meet these conditions.
24
     Instead, APFM belatedly served supplemental interrogatory responses along with an unverified
25
     letter which (1) inexplicably omitted certain persons from Plaintiff’s proposed class definition and
26

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     (2) failed to disclose the number of calls placed to each cell phone number.3 See Dkt. 90-2.
 2
     Accordingly, on July 12th, Plaintiff’s counsel informed Defendant’s counsel that, because APFM
 3
     had failed to meet its limited conditions, Plaintiff would move to compel unless APFM produced
 4
     the requested discovery. APFM, however, never agreed to provide the requested discovery and
 5
     thus Plaintiff was forced to seek court intervention. See Dkt. 90, 90-2. Therefore, no bargain was
 6
     ever “struck” between the parties prior to the filing of this Motion.
 7
                After the filing of this Motion, APFM belatedly served supplemental interrogatory
 8
     responses in an attempt to remedy its deficient discovery responses. But those discovery responses
 9
     still failed to “confirm that the answer is accurate and responsive to Plaintiff’s discovery requests”
10
     – the limited precondition under which Plaintiff agreed to forego the Call Data and Call List for
11
     pre-class certification purposes. Supra at 7. Rather, APFM’s supplemental interrogatory responses
12
     expressly stated they were an “estimate of the number” of class members and that “APFM cannot
13
     identify the information Plaintiff requested.” See Dkt. 92-1, pp. 34 of 76 (emphasis added).
14
     APFM made vague and unsubstantiated claims that some of the individuals who submitted
15
     webforms on APFM’s “locate websites” were false or fake and therefore refused to confirm those
16
     individuals were part of Plaintiff’s proposed class. Id. at pp. 34-41 of 76. In addition, APFM still
17
     refused to provide the numbers of calls to each of the proposed class members.
18
                Because APFM refused to provide accurate and responsive information, Plaintiff’s counsel
19
     explained to APFM that they required production of the Call List and Call Data so that Plaintiff’s
20
     expert could conduct his own analysis with the raw data. See Ex. 3 attached hereto.
21
                For these reasons, APFM is simply wrong to claim an agreement was struck excusing it
22
     from its discovery obligations.
23

24

25   3
         APFM unilaterally chose not to provide information with respect to persons “who had requested
     information from A Place for Mom directly or through one of its marketing channels or vendors before or
26
     after submitting information on the “Locate” websites” even though these individuals fell within Plaintiff’s
27   proposed class definition.
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 1
                  D. APFM’s Burden Argument Is Not Well-Reasoned and Does Not Justify
 2                   Excusing APFM From Responding to Routine Discovery.
 3           APFM’s final basis for why it should not be required to produce the Call List and Call Data
 4   is that the production of this information would be too burdensome. Dkt. 91 at 9-10. But this
 5   argument too makes no sense. APFM concedes in its opposition that it has already compiled and
 6   analyzed the data at issue both for purposes of providing it to a third-party call vendor and
 7   supplementing its interrogatory answers in these proceedings. See Dkt. 91 at 5, 10 (“A Place for
 8   Mom has already…analyz[ed] such data in order to provide Plaintiff with the information A Place
 9   for Mom produced in its supplemental response to Interrogatory Number 8.”). Since APFM has
10   already pulled the data together and produced it to a third-party call vendor, all it needs to do is
11   produce that same information to Plaintiff so that his expert too can analyze it for class certification
12   purposes. Therefore, there will be no burden whatsoever on APFM to simply reproduce the data it
13   already queried. To the contrary, Plaintiff’s proposal ensures that any burden falls squarely on the
14   shoulders of Plaintiff – who will have his expert process the data accurately and completely.
15           Moreover, even if APFM had made a proper showing that the Call Data and Call List is not
16   reasonably accessible because of undue burden or cost—which it has not—the court may
17   nonetheless order the discovery if the requesting party shows good cause. Moore v. Lowe's Home
18   Centers, LLC, No. 14-1459 RJB, 2016 WL 687111, at *3 (W.D. Wash. Feb. 19, 2016) (citing Fed.
19   R. Civ. P. 26). Here, good cause exists for the production of the Call Data and Call List.
20           As set forth above, this discovery is highly relevant to class certification issues such as
21   ascertainability, numerosity, and commonality. See supra at 4-5 citing cases.
22           In addition, the deposition of APFM’s 30(b)(6) corporate representative, Robert
23   Grammatica, further demonstrates the need for Plaintiff’s expert to conduct his own analysis with
24   respect to the Call List and Call Data because there is a vast discrepancy between APFM’s
25   supplemental interrogatory responses and its corporate representative’s testimony with respect to
26   the number of individuals who visited APFM’s websites. In its supplemental interrogatory
27
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     responses, APFM claimed that it received only 97,937 inquiries to its “locate websites” since
 2
     August of 2013. See Dkt. 92-1 at Int. No. 8.
 3

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                                     This approximation is vastly different than the mere 97,000 inquiries
 8
     APFM claims it received to the “locate websites” over a 4-year period.              Because of this
 9
     discrepancy, Plaintiff’s expert must be given the raw data so that he may make an appropriate
10
     determination as to the scope of the class.
11
             For these reasons, APFM’s ill-reasoned burden argument does not justify excusing APFM
12
     from responding to Plaintiff’s routine TCPA class discovery particularly in view of the discrepancy
13
     between its sworn interrogatory responses and corporate representative testimony.
14
     IV.     CONCLUSION
15
             For the foregoing reasons, Plaintiff respectfully requests that the Court grant his Motion to
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     Compel and enter an Order requiring APFM to produce the Call List and Call Data within seven
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     (7) days of the entry of such an Order.
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      Plaintiff’s Reply in Support of Motion to            LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
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 1                                                        Respectfully submitted,

 2

 3   Dated: August 3, 2018                                By:       /s/ Sharon M. Lee
                                                                Sharon M. Lee, WA Bar No. 37170
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                                                                BERNSTEIN, LLP
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 4                                                           Telephone: (877) 677-5397
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 5
                                                             Counsel for Plaintiff and the Proposed
 6                                                           Class

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 1
                                          CERTIFICATE OF SERVICE
 2
             I hereby certify that on August 3, 2018, a copy of the foregoing was filed electronically.
 3
     Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
 4
     indicated on the electronic filing receipt. Parties may access this filing through the Court’s
 5
     electronic filing system.
 6                                                          /s/ Gary M. Klinger
                                                            Gary M. Klinger
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EXHIBIT A
Deposition of Jennifer Mellet, 30(b)(6) A Place for Mom                       PINE vs. A PLACE FOR MOM, INC.

   1      attempts to contact with them because we know that this

   2      time in their life can be very stressful, so we want to

   3      get in contact with them when the time is right for

   4      them.

   5               Q.     (BY MR. HUTCHINSON)             So my question to you is

   6      if there's a standard number of calls that A Place for

   7      Mom places?

   8               A.     Well, we -- we hope to connect with them on

   9      the first attempt, so some families may only receive

 10       one phone call from us while others may receive

 11       multiple phone calls from us.

 12

 13

 14

 15                Q.     So is it fair to say that A Place for Mom will

 16       place calls to consumers until it contacts them up to a

 17       15 number of calls?

 18                A.

 19

 20

 21                Q.     Does A Place for Mom have a script for the

 22       calls that it makes?

 23                A.     It has a guiding script.

 24                Q.     So yes, it does have a script?

 25                A.     I mean they don't have to say it word for

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EXHIBIT B
Deposition of Robert Grammatica, 30(b)(6) A Place for Mom                    PINE vs. A PLACE FOR MOM, INC.

   1              Q.     What about referrals from experts, doctors,

   2      hospitals, is that all lumped within affiliate

   3      marketing?

   4              A.     That's separate and not in my area.

   5              Q.     So that isn't considered part of the

   6      marketing -- marketing-based leads I suppose; is that

   7      correct?

   8              A.     Correct.

   9

 10

 11               A.     Yeah.       Again, probably a little more than that

 12       combined.

 13               Q.     And with respect to those two categories,

 14       that's all leads that come through the website to A

 15       Place for Mom; is that correct?

 16               A.     It includes calls because there's telephone

 17       numbers on the website.

 18               Q.     Do you know what percentage of people who go

 19       through the SEO or SEM channel end up calling A Place

 20       for Mom versus submitting a form online?

 21               A.

 22

 23                                 MR. SNELL:          And I don't want to object

 24       to every question, but again, we've -- he's prepared to

 25       testify about the Locate sites as we said and the

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Deposition of Robert Grammatica, 30(b)(6) A Place for Mom                    PINE vs. A PLACE FOR MOM, INC.

   1      objections -- you asked -- have not yet -- you've asked

   2      about a lot of stuff that he's not been prepared to

   3      testify about.             But to the extent you have knowledge,

   4      don't speculate, you can answer the questions.

   5              Q.     (BY MR. SPRAGENS)                  Do you know how many

   6      potential leads, by which I mean inquiries, A Place for

   7      Mom receives every year through SEM?

   8              A.     You're asking me to speculate the total

   9      number.

 10               Q.     You can estimate, if that's easier.

 11                                 MR. SNELL:          And only if you can

 12       estimate.          Don't guess.

 13               A.     I need a calculator.

 14               Q.     (BY MR. SPRAGENS)                  Maybe it would -- maybe it

 15       would be easier to work backward.                        How many total

 16       inquiries does A Place for Mom receive every year?

 17               A.

 18

 19               Q.     And the percentages we discussed earlier were

 20       referred leads, but the same percentages apply in terms

 21       of just the hard inquiries?

 22               A.

 23               Q.     Any differences worth noting?

 24               A.     Yes, the ones that are SEO are highly

 25       qualified because the people know exactly what they're

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